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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  THE TRANSPARENCY PROJECT,           §
                                      §
                Plaintiff,            §                 CIVIL ACTION No. 4:20CV467
                                      §
  v.                                  §
                                      §
  U.S. DEPARTMENT OF JUSTICE, et al., §                 JUDGE SEAN D. JORDAN
                                      §
                Defendants.           §

                JOINT PRODUCTION SCHEDULE FOR FBI REQUESTS

         In compliance with the Court’s request at the telephonic status conference held on

 January 18, 2022, the parties jointly submit the following agreed production schedule

 regarding the FBI requests:

                                       Butowsky/Couch Request

         The June 18, 2020 (1469375-000) request regarding records pertaining to

 surveillance of Edward Butowsky and Matt Couch has been fully processed, and a final

 release was issued to Plaintiff.

                                          Imran Awan Requests

         The June 26, 2018 (1421854-000) and June 11, 2020 (1468312-000) requests seek

 the same information regarding records referencing Imran Awan, et al. The FBI’s

 processing of these requests is ongoing at a rate of approximately 500 pages per month.

 The FBI is making preprocessed releases on or about the 27th of each month. When

 production is complete, the parties will submit a proposed briefing schedule, as

 necessary.


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                                              DNC Hack Request

         The June 15, 2020 (1469813-000) request for records related to the alleged

 hacking of Democratic National Committee (“DNC”) emails is ongoing. To date, FBI has

 identified 495,862 pages of potentially responsive main file documents and has produced

 to Plaintiff 932 pages of serials indexing the main file documents. The FBI has also

 identified approximately 22,000 pages of sealed records contained within the main file

 documents. The FBI provided a list of the criminal case cites of the sealed records, and

 Plaintiff agrees that he is not entitled to the sealed records and that those do not need to

 be processed.

         The FBI is also in the process of converting subfile documents into readable

 format. To date, FBI has identified approximately 1.5 million pages of converted subfile

 documents and has approximately 5 GB of subfiles left to convert. The FBI is unable to

 identify a page count of the 5 GB of unconverted subfiles until the conversion process is

 complete.

         Due to the extensive scope of the current request and the millions of potentially

 responsive documents at issue in this case, Plaintiff has agreed to submit a narrowed

 request to the FBI in an effort to create a manageable universe of documents to process.

 Plaintiff will submit his narrowed request to the FBI within thirty days, on or before

 February 21, 2022.

         The FBI will start production at a rate of 500 ppm after the parties agree on the

 narrowed scope of the search. The parties will notify the Court when production begins

 so that the Court can schedule a status conference 90 days thereafter.


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                                              Respectfully submitted,


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